Case 8-19-73839-reg Doci1 Filed 05/28/19 Entered 05/28/19 10:24:52

“Fill in this information to identify the case:

    

_ United States Bankruptcy Court for the:
Eastern ____ district of _ Mew York
: (State) i
Case number (if known): Chapter ' — CJ Check if this is an
Wig HAY 28 AV OE ot amended filing

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/16

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

4. Debtor’s name SeP_2 TU WwW: llete Corp.

 

2. All other names debtor used
in the last 8 years

 

 

 

Include any assumed names,
trade names, and doing business
@s names

 

 

 

3. Debtor’s federal Employer z 3 ah? S&S 8 t 1¢Y

Identification Number (EIN)

 

 

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
204 Centre Island Ru
Number Street Number Street

 

P.O. Box

 

Pyster. Bay NY (I77/

City 7 / Siate P Code City State ZIP Code

 

 

 

My Location of principal assets, if different from
. principal place of business
ASSAu
County
Number Street
City State ZIP Code

 

 

5. Debtor’s website (URL)

 

Yeorporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP})
(] Partnership (excluding LLP)
CJ other. Specify:

6. Type of debtor

 

 

Official Form 201 Voluntary Petition for Non-individuais Filing for Bankruptcy page 1
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Case number (if known),

 

Neme

Debtor 382 Iu Willets Corp

 

. . . A. Check one:
7. Describe debtor’s business

. Care Business (as defined in 11 U.S.C. § 101(27A))

Mf Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Railroad (as defined in 11 U.S.C. § 104(44))

C) Stockbroker (as defined in 11 U.S.C. § 1014(53A))

O Clearing Bank (as defined in 11 U.S.C. § 781(3))

C] None of the above

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))
1

B. Check all that apply:

QO} Tax-exempt entity (as described in 26 U.S.C. § 501)
C} investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CI investment advisor (as defined in 15 U.S.C. § 80b-2(a}(11

C. NAICS (North American Industry Classification System) 4-digit code that-best describes debtor. See
http://www.uscourts.aov/four-digit-national-association-naics-codes .

s. Under which chapter of the Check one:
Bankruptcy Code is the a
debtor filing? OI Chapter 7

wen 9
MsChapter 11. Chegi all that apply:

Weston aggregate nonconiingent liquidated debts (excluding debts owed to

insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

_] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-fiow statement, and federal income tax return ar if all of nese
documenis do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Oa plan is being filed with this petition.

0

Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 17 (Official Form 201A) with this form.

UO) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.
QC) Chapter 12
3. Were prior bankruptcy cases woo
filed by or against the debtor
within the last 8 years? Cl Yes. District When Case number
MM / DD /YYYY

if more than 2 cases, attach a /
separate list District When Case number

‘ : MM / DD/YYYY

10. Are any bankruptcy cases Nano
pending or being filed by a
business partner or an Cl Yes. Debtor Relationship —
affiliate of the debtor? District When

i i mM / DD /YYYY
List all cases. If more than 1, MM / DD YYY
atiach e separate list. Case number, if known

Official Form 201 Voluntary Petition for Non-Individuais Filing for Bankrupicy page 2
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Debi 332 lU_Willefs Corp

Case number (if known}
Name

 

 

14. Why is the case filed in this Check all that apply:
district? .. os: _ : _ .
Debtor has had its domicile, principa! place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a ionger part of such 180 days than in any other
disirict.

Cha bankruptcy case concerning debior’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have Uno
possession of any real
property or personal property
that needs immediate

QO) Yes. Answer below for each property thai needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ali that apply.)

 

 

 

 

 

 

 

 

 

 

 

attention?

Ch it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard? _

CI it needs to be physically secured or protected from the weather.

C) it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livesiock, seasonal! goods, meat, dairy, produce, or securities-related
assets or other options).

QO) Other

Where is the property?

Number Street
City State ZIP Code

Is the property insured?

CI No

QC Yes. insurance agency

Contact name
Phone
ae Statistical and administrative information
13. Debtor’s estimation of Check one:
available funds O yunds will be available for distribution to unsecured creditors.
After any adminisirative expenses are paid, no funds will be available for distribution to unsecured creditors.
; W269 O 1,000-5,000 QO) 25,001-50,000
14, Estimated number of Q) 50-99 2 5,901-10,000 Q) 50,001-100,000
creditors OQ) 100-199 QC) 10,001-25,000 O) More than 100,000
C] 200-999
L
/ & $0-$50,000 C) $1,000,001-$10 million [2 $500,000,001-$1 billion
1s. Estimated assets O $50,001-$100,000 C1 $40,000,001-$50 million {J $1,000,000,001-$10 billion
OC) $100,001-$500,000 C1 $50,000,001-$100 million C1 $10,000,000,004-$50 billion
C) $500,001-S1 million C) $100,000,001-$500 million CJ More than $50 billion

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 3
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Debior 38 2 [ U W

illets Corp.

 

Case number (if known)

 

 

Name
d Habilit (Ys0-s50,000 C1 $1,000,00 C1 $500,000,001-$1 billion
is. Estimated liabilities OQ) $50,001-$100,000 O $10,000,001-$50 million C1 $1,000,000,001-$10 billion
C} $100,001-$500,000 C) $50,000,001-$100 million LJ §10,000,000,001-$50 billion
() $500,001-$1 million C) $100,000,001-$500 million CJ Wviore than $50 billion

ES for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
for up io 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

$500,000 or imprisonment

47. Declaration and signature of
authorized representative of
debtor

ta

petition.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

ts | have been authorized to file this petition on behalf of the debior.

a

correct.

| have examined the information in this petition and have a reasonabie belief that the information is true and

| declare under penalty of perjury that the foregoing Is true and correct.

 

 

t
Signature of authorized represethative of debtor

Title LM we 0b. Agee A

Printed name

 

18. Signature of attorney

Official Form 201

x

 

 

 

 

 

Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code

 

Contact phone

 

Email address

 

Bar number

State

 

Voluntary Petition for Non-Individuats Filing for Bankruptcy page 4
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

www.nyeb.uscourts.goy

   

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

pesrons): 382 Iu WILLETS Coke CASE NO::

 

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

| NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vil) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

“No RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE PENDING: (YES/NO): [/f closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

e SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

e SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

 

CASE PENDING: (YES/NO): [/fclosed| Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

e SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART I (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

e SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 
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[OVER]
DISCLOSURE OF RELATED CASES (cont'd)
CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): [/f closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, ete.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES: ee

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as
indicated elsewhere on this form.

  

Le Aetasrv

Signature of Debtor’s Attorney - Signature of Bro-se Debtor/Petitioner

2.04 Centre Island Rd

 

 

Mailing Address of Debtor/Petitioner

Oyster Posy , wy li 77}

City, State, Zip Code 7

 

Email Address

 

Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

= Case No.
| Chapter
3g9 Tu willets Corp. pter //
Debtor(s)
aa x
AFFIRMATION OF FILER(S)

 

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: Daute ( De ea s0V

Address: bz bo 108 St #77 Porest ills NY U&7s
Email Address:

Phone Number: ( G (7 ) KOI - S&28

 

 

 

 

Name of Debtor(s): 232 TU Willets Corp

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

 

 

I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:
J I] WAS NOT PAID.

I WAS PAID.

Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

  

Dated: 5 / 2S [204

iér’s Si gnaturel
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re: Case No.

S82 Lu Willets Copp. Chapter /I

Debtor(s)
ee ee ee ee ee ee ee xX

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: 5/28 [2009

» 0 {dbeasr
322 TU Willets Cogp.

Debtor

 

 

Joint Debtor

s/
Attorney for Debtor

 

USBC-44 Rev. 11/15
Case 8-19-73839-reg Doci1_ Filed 05/28/19

Fein Such & Crane LLP
1400 Old Country Rd
Suite C103

Westbury, NY 11590

Bayview Loan Servicing
4425 Ponce de Leon Blvd
Coral Gables, FL 33146

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